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                         EXHIBIT 8
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 December 8, 2023

 Joseph S. St. John:
 State of Louisiana, Department of Justice
 Office of the Attorney General
 P.O. BOX 94005
 Baton Rouge, 70804-9005

 Re: Freedom of Information Act Request No. EPA-2023-005099 Interim Response

 Dear Mr. St., John

                This letter concerns the above-mentioned Freedom of Information Act (FOIA)
        request, submitted to the U.S. Environmental Protection Agency (EPA), National FOIA
        Office (NFO) on June 29, 2023 in which you requested:

        1. Any and all Records regarding, related to, or mentioning the Subject Matter exchanged
        between or among EPA and the following people and/or organizations:

                Halle Parker and/or Nola.com;
                Morgan Radford and/or MSNBC;
                Timothy Puko, Darryl Fears, Michael Phillis, and/or The Washington Post;
                Oliver Laughland and/or The Guardian;
                Anna McAllister and/or WGNO;
                Mike Smith and/or The Advocate.
                Bobbi-Jeanne Misick and/or WWNO;
                Sharon Lavigne and/or RISE St. James;
                Any other remember of RISE St. James;
                Dr. Beverly Wright and/or The Deep South Center for Environmental Justice;
                Monique Harden and/or The Deep South Center for Environmental Justice;
                Rev. Gregory Manning and/or Coalition Against Death Alley;
                Any member of Concerned Citizens of St. John;
                Robert Taylor; and
                Brenda Bryant.

        2. Any and all Records regarding, related to, or mentioning any requests to
        schedule a meeting or conference with Administrator Michael S. Regan
        (“Administrator Regan”) or his representatives during the Journey to Justice tour in
        Louisiana, whether the request was made before or during the Journey to Justice
        tour in Louisiana. This request specifically includes any requests by organizations
        and/or entities representing industrial facilities in Louisiana, such as the Louisiana
        Chemical Association.
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      3a. The calendar of Administrator Regan, electronic or otherwise, for all dates
      during the Journey to Justice tour.

      3b. Any and all Records regarding, related to, or mentioning the scheduling any
      meeting or conference between Administrator Regan or his representatives and any
      group, person, or organization during the Journey to Justice tour in Louisiana.

      4. Any and all Records provided by EPA to, or provided to EPA by, any meeting
      participant during, or as a follow-up to, any meeting with Administrator Regan or
      his representatives during the Journey to Justice tour in Louisiana.

      5. Any and all notes, handwritten or electronic, taken or created by EPA,
      including Administrator Regan or his representatives, during the Journey to Justice
      tour in Louisiana, including any notes, handwritten or electronic, taken by EPA,
      including Administrator Regan or his representatives, during or about any meeting
      during the Journey to Justice tour in Louisiana.

      6. Any and all Records or communications regarding, related to, or mentioning
      the Subject Matter provided to EPA by any of the following or provided by EPA to
      any of the following:
               Concerned Citizens of St. John;
               Sierra Club;
               Stop the Wallace Grain Terminal;
               Inclusive Louisiana;
               RISE St. James;
               Louisiana Bucket Brigade;
               Tulane Environmental Law Clinic;
               Any member or officer of those organizations; and/or
               Any counsel, person, or group representing those organizations.

      7. Any and all Records regarding, related to, or mentioning the Complaint dated
      January 20, 2022 submitted to EPA by Concerned Citizens of St. John and the
      Sierra Club, including all communications between EPA and Concerned Citizens of
      St. John, the Sierra Club, counsel for Concerned Citizens of St. John and the Sierra
      Club, and any member, representative, or counsel of those organizations, whether
      before or after January 20, 2022. For the avoidance of doubt, communications
      regarding informal resolution of that complaint are within the scope of this request.

      8. Any and all Records regarding, related to, or mentioning the Complaint dated
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        February 1, 2022 submitted to EPA by Stop the Wallace Grain Terminal, Inclusive
        Louisiana, RISE St. James, the Louisianan Bucket Brigade, and/or the Tulane
        Environmental Law Clinic between EPA and Stop the Wallace Grain Terminal,
        Inclusive Louisiana, RISE St. James, the Louisianan Bucket Brigade, and the
        Tulane Environmental Law Clinic, including any communications between EPA
        and any member, representative, or counsel of those organizations, whether before
        or after February 1, 2022. For the avoidance of doubt, communications regarding
        informal resolution of that complaint are within the scope of this request.

        9. Any and all evidence underlying EPA’s Letter of Concern to Dr. Chuck Carr
        Brown and Dr. Courtney N. Phillips, dated October 12, 2022, and signed by Lilian
        S. Dorka.

        10. Any and all communications regarding EPA’s Administrative Closure of EPA
        Complaint Nos. 01R-22-R6 and 04R-22-R6.

        11. Any and all communications regarding EPA’s Administrative Closure of EPA
        Complaint No. 02R-22-R6.



 The Agency is now releasing records in response to your request. The records EPA is releasing
 include 106 records responsive to Parts 1 and 6 of the clarified request composed of: external
 communications to or from complainants (Earthjustice, Lawyers Committee for Civil Rights,
 Tulane Environmental Law Clinic), members of the press, and environmental NGO or advocacy
 groups. EPA has considered the foreseeable harm standard when reviewing records and applying
 FOIA exemptions.

 Please note that this is an interim response, and the EPA continues to work on your request. The
 Agency expects to release the next interim production on December 22, 2023.

 Again, your request is not being closed at this time. When your request is closed, you will
 receive information concerning your appeal rights for any part of EPA’s response. If you have
 any questions about this interim production or your request generally, please contact Danny
 Giddings at Giddings.daniel@epa.gov or by phone at 202-768-2100. Additionally, you may seek
 assistance from EPA’s FOIA Public Liaison at hq.foia@epa.gov or call (202) 566-1667. Last,
 you may also seek assistance from the Office of Government Information Services (OGIS). You
 may contact OGIS in any of the following ways: by mail, Office of Government Information
 Services, National Archives and Records Administration, 8601 Adelphi Road, College Park, MD
 20740-6001; email: ogis@nara.gov; telephone: (202) 741-5770 or (877) 684-6448; or fax: (202)
 741-5769.; telephone: (202) 741-5770 or (877) 6846448; or fax: (202) 741-5769.


                                                     Sincerely,
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                                          Danny Giddings
                                          OEJECR Chief of Staff/Staff Officer
                                          Acting FOIA Coordinator
